             Case 2:07-cr-00426-RSM Document 159 Filed 10/20/20 Page 1 of 2




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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10          UNITED STATES OF AMERICA                         CASE NO. CR07-370RSM/
                                                             CR07-426RSM
11                                Plaintiff,                 ORDER TO SEAL DOCUMENT

12                 v.

13          CHARLES JAMES WILLIAMS,

14                                Defendant.

15

16          THE COURT having considered the motion to file counsel’s Declaration concerning

17 defendant’s Motion to Substitute Attorney under seal for referring to and citing documents

18 which are not in the public domain, the Court hereby makes the following findings:

19 That based upon the reasons set forth in defense counsel’s motion to file under seal:

20 IT IS THEREFORE ORDERED that attorney Tim Lohraff is hereby given leave to file his

21 Declaration under seal.

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23 ///

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     ORDER TO SEAL DOCUMENT - 1
            Case 2:07-cr-00426-RSM Document 159 Filed 10/20/20 Page 2 of 2




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 2         DATED this 20nd day of October, 2020.
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 5                                           A
                                             RICARDO S. MARTINEZ
 6                                           CHIEF UNITED STATES DISTRICT JUDGE

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